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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE
 M.P. MOON, individually and as representative
 of a class of participants and beneficiaries in and
 on behalf of the DuPont Pension and Retirement C.A. No. 1:19-cv-01856-SB
 Plan,
             Plaintiff,
             v.
 E.I. du Pont de Nemours and Company,
             Defendant.


                   PARTIES’ STIPULATION AND [PROPOSED] ORDER
                       AMENDING THE SCHEDULING ORDER
       Plaintiff M.P. Moon (“Moon”) and Defendant E.I. du Pont de Nemours and Company

(“DuPont”), by and through their undersigned counsel and subject to the approval of the Court,

hereby stipulate and agree as follows:

      1.       The deadline for the completion of fact discovery is hereby extended from June

17, 2022 to July 22, 2022.

       2.      For the party with the initial burden of proof on the subject matter, the deadline

for the initial Federal Rule 26(a)(2) disclosure of expert testimony is extended from March 11,

2022 to July 22, 2022.

       3.      The deadline for the supplemental expert disclosure to contradict or rebut

evidence on the same matter identified by another party is extended from April 11, 2022 to

August 22, 2022.

       4.      The deadline for reply expert reports from the party with the initial burden of

proof is extended from May 2, 2022 to September 6, 2022.

       5.      The deadline for dispositive motions is extended from June 17, 2022 to

September 30, 2022.




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       6.      The pretrial conference, currently scheduled for October 3, 2022, is rescheduled to

_____________, 2022 at ____________.

       7.      The parties’ deadline for filing the joint proposed final pretrial order is extended

from September 19, 2022 to _________________, 2022.

       The parties continue to diligently and cooperatively pursue discovery and agree that

additional time is necessary in this complex case. Plaintiff’s motion for class certification is

pending, and a trial date has yet to be scheduled.



Dated: May 17, 2022

 DELEEUW LAW LLC                                      BALLARD SPAHR LLP

 /s/ P. Bradford deLeeuw ______                       /s/ Juliana R. van Hoeven_______
 P. Bradford deLeeuw (Del. Bar No. 3569)              Beth Moskow-Schnoll (No. 2900)
 1301 Walnut Green Road                               Brittany M. Giusini (No. 6034)
 Wilmington, Delaware 19807                           Juliana R. van Hoeven (No. 6498)
 Telephone: (302) 274-2180                            919 N. Market St., 11th Floor
 Facsimile: (302) 351-6905                            Wilmington, DE 19801
 Email: brad@deleeuwlaw.com                           Telephone: (302) 252-4465
                                                      Email: moskowb@ballardspahr.com
                                                      giusinib@ballardspahr.com
 MCKAY LAW, LLC                                       vanhoevenj@ballardspahr.com
 Michael C. McKay (Pro Hac Vice)
 5635 N. Scottsdale Road, Suite 170                   David S. Fryman
 Scottsdale, Arizona 85258                            1735 Market Street, 51st Floor
 Telephone: (480) 681-7000                            Philadelphia, PA 19103-7599
 Facsimile: (480) 348-3999                            Telephone: (215) 665-8500
 Email: mmckay@mckaylaw.us                            Email: frymand@ballardspahr.com
 Attorneys for Moon and the Proposed Class            Attorneys for E.I. du Pont de Nemours
                                                      and Company



SO ORDERED this ____ day of _________________, 2022.



                                              The Honorable Stephanos Bibas
                                              United States Circuit Court Judge


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